     Case 6:06-cr-00026-JRH-CLR Document 888 Filed 02/25/09 Page 1 of 6




               UNITED STATES DISTRICT COURT

               SOUTHERN DISTRICT OF GEORGIA

                       STATESBORO DIVISION

HOMER HOLLOWAY,                    )
                                   )
     Movant,                       )
                                   )
v.                                 )     Case No. CV608-100
                                   )              CR606-026
UNITED STATES OF AMERICA,          )
                                   )
     Respondent.                   )


                REPORT AND RECOMMENDATION

      Homer Holloway has moved the Court to vacate, set aside, or correct

his federal prison sentence under 28 U.S.C. § 2255, alleging that he is

entitled to an out-of-time appeal. Doc. 1. The government opposes the

motion. Doc. 4. For the reasons that follow, the motion should be

DENIED.

      Holloway states that he instructed his trial attorney, Michael C.

Garrett, to file a notice of appeal, but Garrett did not do so. Doc. 1 at 4.

"[A] lawyer who disregards specific instructions from the defendant to file

a notice of appeal acts in a manner that is professionally unreasonable," Roe

v. Flores-Ortega, 528 U.S. 470,477 (2000), and thus "entitles the defendant
     Case 6:06-cr-00026-JRH-CLR Document 888 Filed 02/25/09 Page 2 of 6




to an out-of-time appeal, even without a showing that there would have

been any viable grounds for an appeal." Montemoino v. United States, 68

F. 3d 416,417(11th Cir. 1995); see also Rodriguez v. United States, 395 U.S.

327, 329-30 (1969) (a defendant is entitled to a direct appeal from his

conviction as a matter of right). Accordingly, the Court held a hearing on

the matter, taking testimony from Holloway and Garrett.

       Holloway testified that Garrett fleeced him and his family for money,

rarely communicated with him, and generally performed poorly as defense

counsel. Despite these problems, Holloway did not discharge Garrett

because he believed that Garrett could get him a favorable sentence based

upon Garrett's "acquaintance" with the prosecuting attorneys. 1 Indeed,

Holloway acknowledged that Garrett negotiated an excellent plea

agreement on his behalf. 2

       1
        Holloway seemed to hint at an improper relationship between Garrett and the
Assistant United States Attorneys trying his case, but he never explicitly stated as much
at the hearing.
      2
           Garrett approached Holloway with two plea offers. He counseled Holloway to
reject the first offer, as he believed he could negotiate a better agreement. The second
offer included sentencing adjustments for acceptance of responsibility and for being a
minor participant in the drug conspiracy leading to the prosecution, waived certain drug
quantity calculations, and exacted a promise from the government to drop its
prosecution of Holloway's son. Based upon that agreement, Holloway's maximum
sentence exposure was 20 years, as opposed to the 20 year mandatory minimum he
initially faced.
                                            2
       Case 6:06-cr-00026-JRH-CLR Document 888 Filed 02/25/09 Page 3 of 6




       More to the point, Holloway testified that just after sentencing he

explicitly asked Garrett to file an appeal on his behalf, and Garrett agreed

to do so. See doc. 1, Aff. Holloway stated that he had his family contact

Garrett on several occasions to discuss the appeal, but Garrett dodged their

calls. Holloway testified that he first checked into the status of his appeal

while taking a class on legal research and motions filing at FCI Fort Dix.

He discovered that no appeal had been filed, so he submitted the present §

2255 motion seeking an out-of-time appeal.

       Garrett disputed Holloway's testimony as to the quality of

representation, stating that he filed a plethora of motions in the case, met

with Holloway on five occasions, and regularly communicated with him on

the telephone. He also stated that he talked to several of Holloway's family

members during and after the case, but most of their requests related to

retrieving documents from Holloway's file. At no point did they ever ask

him about the status of any appeal or suggest that Holloway wanted to file

one.

       Garrett testified that after sentencing he met with Holloway in a

holding area, where they discussed the possibility of an appeal in detail.


                                       3
     Case 6:06-cr-00026-JRH-CLR Document 888 Filed 02/25/09 Page 4 of 6




Garrett stated that he explained Holloway's appellate rights but counseled

against filing an appeal, which he perceived to have no merit based upon

the success of the plea negotiations and the few surviving appealable issues.

Garrett testified that at no time during or after the discussion did Holloway

ask him to file an appeal. He insisted that if Holloway had asked him to file

an appeal, he absolutely would have done so, but likely in the form of an

Anders brief, for he saw no meritorious grounds for an appeal. Garrett

stated that whenever any client has asked him to file an appeal, he has

done so, even if he sees no plausible grounds for appeal.

      In support of his testimony, Garrett referred to a letter he received

from Holloway dated January 17, 2008, just before the window for filing a

notice of appeal had expired. (Sentencing occurred on January 8, 2008, and

any notice of appeal was due to be filed within 10 days of that date.) Govt's

Ex. 1. The letter never mentioned a pending appeal but instead asked

Garrett to send Holloway "all of [his] discovery packet. .. [and copies of]

court orders . . . [and a] pen register." Id. Garrett promptly sent the

requested information, having reasonably concluded that Holloway had




                                      9
     Case 6:06-cr-00026-JRH-CLR Document 888 Filed 02/25/09 Page 5 of 6




decided to proceed with a § 2255 motion in lieu of an appeal. 3 Govt's Exs.

2&3.

      The Court credits Garrett's version of the events and rejects

Holloway's. Holloway simply was not a credible witness. He testified that

he was not satisfied with Garrett's services, going so far as to state that

Garrett coached him to tell the district judge at the Rule 11 hearing that he

was satisfied with Garrett's services when he was not, in fact, satisfied. See

Sent. Tr. 44-45. Yet, he admitted that Garrett performed remarkably well

on his behalf by negotiating an excellent plea agreement. His memory of

the events was inconsistent with the facts of the case and seemed colored

and shaped by his legal research training at the hands of an inmate lawyer.

      Garrett, on the other hand, is an experienced and well-respected

criminal defense attorney. He is a member and former president of the

Georgia Association of Criminal Defense Attorneys and a member of the

National Association of Criminal Defense Attorneys. He has practiced

criminal law since 1973, and has seen hundreds of cases to their conclusion



      3 This inference was corroborated by a letter he had received from Holloway's wife
in her pending criminal prosecution under the same conspiracy. She discharged Garrett
and her counsel, opting instead to "take matters into [her] own hands" at sentencing.

                                           5
     Case 6:06-cr-00026-JRH-CLR Document 888 Filed 02/25/09 Page 6 of 6




(including taking countless appeals). His testimony was straightforward

and was supported by both Holloway's letter and the Rule 11 transcript.

     The Court is convinced that Garrett performed admirably in his

representation of Holloway by (among other things) securing an excellent

plea agreement and thoroughly counseling Holloway regarding his appellate

rights. Because Holloway did not ask Garrett to file an appeal, his § 2255

motion (doc. 1) should be DENIED. Moreover, applying the Certificate of

Appealability ("COA") standards set forth in Brown v. United States, 2009

WL 307872 at * 1-2 (S.D. Ga. Feb. 9, 2009) (unpublished), the Court

discerns no COA-worthy issues at this stage of the litigation, so no COA

should issue. 28 U.S.C. § 2253(c)(1); see Alexander v. Johnson, 211 F.3d

895,898(5th Cir. 2000) (approving sua sponte denial of COA before movant

filed a notice of appeal). And, as there are no non-frivolous issues to raise

on appeal, an appeal would not be taken in good faith. Thus, in forma

pauperis status on appeal should likewise be DENIED. 28 U.S.C. §

1915(a)(3).

      SO REPORTED AND RECOMMENDED this 25th day of

February, 2009.

                                                 UNITED STATES MAGISTRATE JUDGE
                                                 SOUTHERN DISTRICT OF GEORGIA

                                     ^
